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                      UNITED STATES DISTRICT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA      )
                              )
                              )
v.                            )         Case No. 21-cr-00292-RCL
                              )
CHRISTOPHER WORRELL, et. al., )
                              )
             Defendant        )
                              )




DEFENDANT’S MOTION RECONSIDER ORDER DENYING ATTORNEY JOE
               ALLEN’S MOTION TO WITHDRAW




                                        William L. Shipley, Jr., Esq.
                                        PO Box 745
                                        Kailua, Hawaii 96734
                                        Tel: (808) 228-1341
                                        Email: 808Shipleylaw@gmail.com

                                        Attorney for Defendant




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      NOW comes Defendant Christopher Worrell by and through his counsel

of record, William L. Shipley, Esq., and respectfully files this motion asking the

Court to reconsider its Order denying Attorney Joe Allen’s motion to withdraw

as counsel for Defendant Worrell.

      On January 26, 2023, Attorney Joe Allen filed a motion to withdraw as

counsel to Defendant Worrell. See EFC. No. 205. That motion was filed on the

instruction of the undersigned, Attorney William Shipley, based on a request

from Defendant Worrell that Attorney Allen file such a motion.

      On January 31, 2023, this Court denied the motion expressing concern

that if it were to allow Attorney Allen to withdraw, it could cause a delay of the

trial currently set for March 13, 2023.

      As previously expressed in Defendant Worrell’s motion to vacate trial

(EFC. No. 198) the purpose of Defendant Worrell hiring the undersigned

counsel was for Attorney Shipley to be lead trial counsel. The undersigned

counsel was an Assistant United States Attorney in both the Eastern District of

California and the District of Hawaii for a combined period of more than 21

years, and has been a defense attorney in private practice for nearly 10 years,

working almost exclusively in federal courts.

      The undersigned counsel has already participated in two trials of

defendants charged with crimes committed on January 6 – a bench trial before

Judge McFadden in August-September 2022, and a jury trial before Judge

Mehta in December-January 2022-23.

      Attorney Shipley agreed to take over the defense of Defendant Worrell

understanding that the trial date would likely be in the spring of 2023. He



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raised the issue of the initial February 13, 2023, trial setting only because that

date was not cleared with him by the Government before it was suggested to

the Court, and that happened while he was in a two-month long trial before

Judge Mehta.

      But when the Court reset the matter for March 13, 2023, Attorney

Shipley did not raise any issue with that date, and he fully expects to be

prepared and ready for trial on that date – without needing the assistance of

co-counsel. The undersigned took more than 40 cases to trial without the

assistance of co-counsel during his more than two decades of service as a

federal prosecutor, and tried both January 6 cases in this District without the

assistance of co-counsel in either case.

      WHEREFORE, Defendant Worrell respectfully requests this Honorable

Court reconsider its order DENYING Attorney Allen’s motion to withdraw.



Dated: February 1, 2023               Respectfully submitted,

                                      /s/ William L. Shipley
                                      William L. Shipley, Jr., Esq.
                                      PO BOX 745
                                      Kailua, Hawaii 96734
                                      Tel: (808) 228-1341
                                      Email: 808Shipleylaw@gmail.com




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